CM/ECF-GA Northern District Court                                     https://ecf.gand.circ11.dcn/cgi-bin/GANDc_mkmin.pl?86330472858783...
                      Case 1:12-cr-00323-WSD-CMS Document 26 Filed 02/20/13 Page 1 of 1




                                                  1:12-cr-00323-WSD-ECS
                                                        USA v. Kim
                                               Honorable William S. Duffey, Jr.

                                    Minute Sheet for proceedings held In Open Court on 02/20/2013.


               TIME COURT COMMENCED: 9:40 A.M.
                                                                    COURT REPORTER: Nick Marrone
               TIME COURT CONCLUDED: 11:01 A.M.
                                                                    USPO: Alex Moody
               TIME IN COURT: 1:21
                                                                    DEPUTY CLERK: Jessica Birnbaum
               OFFICE LOCATION: Atlanta

         DEFENDANT(S):                 [1]Edward K. Kim Present at proceedings
         ATTORNEY(S)                  Whitman Dodge representing Edward K. Kim
         PRESENT:                     Joseph Plummer representing USA
         PROCEEDING
                                      Sentencing Hearing(Sentencing Hearing Non-evidentiary);
         CATEGORY:
         MINUTE TEXT:                 Sentencing hearing held. The Court imposed its sentence on Counts 1, 3, 5,
                                      and 6 and informed Dft of his appeal rights. Judgment and Commitment
                                      order to follow. Dft remanded to CUSM.
         HEARING STATUS:              Hearing Concluded




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